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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

BLOOMBERG L.P.,                 )
731 Lexington Ave               )
New York, NY 10022              )
                                )
       Plaintiff,               )
                                )
v.                              )
                                )
CENTERS FOR DISEASE CONTROL AND )
PREVENTION,                     )
395 E Street, S.W.              )
Suite 9100                      )
Washington, D.C. 20201          )
                                )
U.S. DEPARTMENT OF HEALTH AND   )
HUMAN SERVICES,                 )
200 Independence Ave., S.W.     )
Washington, D.C. 20201          )
                                )
       Defendants.              )

                                         COMPLAINT

       1.      Plaintiff BLOOMBERG L.P. brings this suit to force Defendants CENTERS FOR

DISEASE CONTROL AND PREVENTION and U.S. DEPARTMENT OF HEALTH AND

HUMAN SERVICES to produce records regarding the donation of oocytes for use in assisted

reproductive technology treatments. The CDC refused to release clinic-level data regarding types

of complications experienced by donors in the stimulation and retrieval process, claiming, without

evidence, that disclosing even the names of clinics or total number of complications could identify

patients and violate their privacy. However, as set forth below, the records sought cannot be used

to identify any individual patient—nor is there any FOIA exemption available to Defendants to

justify withholding these records.
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        2.     Indeed, there is great value in making the records publicly available. The CDC

publishes similar data regarding assisted reproductive technology treatments that result in

successful pregnancies. Plaintiff seeks analogous data regarding complications. Production of the

records sought here will serve CDC’s stated goal of “monitor[ing] the safety and effectiveness of

ART procedures in the United States.” See https://www.cdc.gov/art/nass/index.html.

                                           PARTIES

        2.     Plaintiff BLOOMBERG L.P. is the owner and operator of Bloomberg News.

Bloomberg’s newsroom of more than 2,700 journalists and analysts delivers thousands of stories

a day, producing news content that is featured across multiple platforms, including digital, TV,

radio, streaming video, print, and live events. BLOOMBERG L.P. is the FOIA requester in this

case.

        3.     Defendant CENTERS FOR DISEASE CONTROL AND PREVENTION is a

federal agency and is subject to the Freedom of Information Act, 5 U.S.C. § 552.

        4.     U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES is a federal

agency and is subject to the Freedom of Information Act, 5 U.S.C. § 552. HHS is the parent agency

of CDC.

                                JURISDICTION AND VENUE

        5.     This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

        6.     Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                        BACKGROUND

        7.     Under the Fertility Clinic Success Rate and Certification Act of 1992 (106 U.S.

Stat. 3146), clinics must report data about Assisted Reproductive Technology (ART) cycles

performed in fertility clinics in the United States. See https://www.cdc.gov/art/nass/index.html.


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       8.       CDC maintains a database titled the National ART Surveillance System, which

houses data from about 500 fertility clinics across the country.

       9.       Clinics electronically enter or import data into CDC’s database for every ART

procedure that they start in a given reporting year. Id.

       10.      An August 26, 2015 notice published by CDC titled “Reporting of Pregnancy

Success Rates From Assisted Reproductive Technology (ART) Programs” requires ART programs

to report a number of data fields to the CDC, including “complications of stimulation and

retrieval.” 80 Fed. Reg. 51811 (Aug. 26, 2015).

       11.      According to the National ART Surveillance System website, CDC “collects the

data from all fertility clinics in the United States and calculates standardized success rates for each

clinic,” which it then publishes to “give[] a potential ART user an idea of their average chances of

success.” See https://www.cdc.gov/art/nass/index.html.

       12.      The Fertility Clinic Success Rate and Certification Act of 1992 states that

pregnancy success rates for ART programs are calculated by dividing the number of pregnancies

which resulted in live births by the number of ovarian stimulations attempted by such programs.

Success rates for oocyte retrieval procedures are calculated similarly. 106 U.S. Stat. 3146 Sec.

2(b)(2).

       13.      Under the Fertility Clinic Success Rate and Certification Act of 1992, maternal

health complications are not a direct factor in evaluating pregnancy success rates for ART or

oocyte retrieval procedures.

       14.      CDC publishes data regarding total ART cycles and total successful pregnancies in

a given reporting year on its website.

       15.      CDC does not publish or otherwise share with the public the surveillance data it

collects from fertility clinics regarding complications from stimulation and retrieval procedures.


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                         MARCH 13, 2024 FOIA REQUEST TO CDC

       16.      On March 13, 2024, Plaintiff submitted a FOIA request to CDC for the following

records:

                We are seeking records in the CDC’s possession that describe the
                donation of oocytes for use in assisted reproductive technology
                treatments. The records are part of the CDC’s national Assisted
                Reproductive Technology surveillance data. This request is limited
                to records from January 1, 2017 to the date the search for responsive
                records is conducted.

                Pooja Gala in the CDC Division of Media Relations confirmed that
                responsive records exist. They are also described in the Federal
                Register.

                Specifically, we are requesting records that include but are not
                limited to the following fields. For each cycle, please provide:

                Year; Facility/Clinic ID; Facility Name; Facility Address; Oocyte
                Source Information; Age; Country of residence; Race; Intended
                Cycle Information; Intended type of cycle (IVF, GIFT, ZIFT,
                Oocyte or embryo banking); Intended Oocyte Source (Patient,
                Donor); Cycle Information; Type of Cycle (IVF, GIFT, ZIFT,
                Oocyte or embryo banking); Embryo Source (Patient, Donor);
                Patient History; Height; Weight; History of Prior ART (Fresh &
                Frozen); Maximum FSH Level (mIU/mL); Recent AMH Level
                (ng/mL); Date of most recent AMH Level; Details of Stimulation
                and Retrieval; Stimulation protocol (e.g. use of hCG medication,
                GnRH agonist suppression, GnRH antagonist suppression, etc.);
                manipulations with oocytes/embryos; cycle cancellation and reason
                (if applicable); complications (if applicable); Number of patient
                oocytes retrieved; Number of donor oocytes retrieved; Use of
                oocytes (e.g. Oocytes shared with other patients); Number of
                oocytes/embryos cryopreserved.

       17.      A true and correct copy of the original FOIA request is attached as Exhibit 1.

       18.      On March 19, 2024, CDC acknowledged receipt of the request and assigned

reference number #24-00809-FOIA to the matter. CDC denied Plaintiff’s request for expedited

processing, placed the request in the complex processing queue, and cited unusual circumstances

as a basis for extending its timeline to respond to the request.

       19.      A true and correct copy of the acknowledgement letter is attached as Exhibit 2.

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       20.     On April 10, 2024, CDC stated that the records were “protected by an Assurance

of Confidentiality (AOC) under the Public Health Act Section 308(d)” and, as such, any

information the CDC could “legally provide under FOIA must be so heavily redacted that it will

be of virtually no use.” CDC said that information “on a more summary level” could be released

to “specially approved guest researchers outside of the FOIA process” and referred Plaintiff to the

Division of Reproductive Health to confer about the requested data.

       21.     A true and correct copy of the April 10, 2024 response is attached as Exhibit 3.

       22.     On April 17, 2024, Plaintiff conferred with CDC’s Division of Reproductive Health

over the phone to discuss information that the Division of Reproductive Health might be willing

to provide.

       23.     On April 23, 2024, CDC administratively closed Plaintiff’s FOIA request “because

[Plaintiff] agreed to work directly with Division of Reproductive Health to obtain releasable data

that can be furnished outside of the FOIA process.”

       24.     A true and correct copy of that correspondence is attached as Exhibit 4.

       25.     On May 2, 2024, Plaintiff appealed the administrative closing of the request.

       26.     A true and correct copy of the May 2, 2024 appeal is attached as Exhibit 5.

       27.     On May 3, 2024, CDC re-opened the FOIA request for processing.

       28.     A true and correct copy of the May 3, 2024 correspondence is attached as Exhibit

6.

       29.     Plaintiff then conferred with CDC’s Division of Reproductive Health about

information the Division of Reproductive Health might be willing to provide.

       30.     On June 14, 2024, CDC’s Division of Reproductive Health released three tables of

data to Plaintiff. The data did not include all records responsive to Plaintiff’s FOIA request.




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        31.     A true and correct copy of the tables provided by the Division of Reproductive

Health is attached as Exhibit 7.

        32.     On July 8, 2024, CDC closed Plaintiff’s request, noting in a letter that Plaintiff

“may re-submit this request if [it] feel[s] the data [it] received is insufficient to satisfy [the]

request” and adding that “virtually all data on this topic is precluded from release under FOIA.”

        33.     A true and correct copy of CDC’s July 8, 2024 letter is attached as Exhibit 8.

        34.     On September 20, 2024, Plaintiff administratively appealed that response, noting

that while Plaintiff agreed to work with program staff to obtain data, it did not waive its right to

pursue responsive records through FOIA. Plaintiff further noted that the data CDC provided was

“limited in scope,” did not satisfy the original request, and did not address foreseeable harm as

required.

        35.     A true and correct copy of that appeal is attached as Exhibit 9.

        36.     On September 24, 2024, CDC acknowledged receipt of the appeal and assigned

case number 2024-00283-A-PHS to the matter.

        37.     A true and correct copy of CDC’s September 24, 2024 letter is attached as Exhibit

10.

        38.     CDC did not send any further correspondence to Plaintiff regarding this request.

        39.     As of the date of this filing, CDC has not issued a determination on Plaintiff’s

administrative appeal.

        40.     As of the date of this filing, CDC has failed to make all responsive records promptly

available to Plaintiff.




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                            COUNT I – CDC’S FOIA VIOLATION

        41.     The above paragraphs are incorporated by reference.

        42.     Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        43.     Defendant CDC is a federal agency subject to FOIA.

        44.     Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        45.     Defendant CDC has failed to conduct a reasonable search for records responsive to

the request.

        46.     Defendant CDC has failed to issue a complete determination within the statutory

deadline.

        47.     Defendant CDC has failed to produce all non-exempt records responsive to the

request.


WHEREFORE, Plaintiff asks the Court to:

        i.      declare that Defendants have violated FOIA;

        ii.     order Defendants to conduct a reasonable search for records and to produce the
                requested records promptly;

        iii.    enjoin Defendants from withholding non-exempt public records under FOIA;

        iv.     award Plaintiff attorneys’ fees and costs; and

        v.      award such other relief the Court considers appropriate.


Dated: November 26, 2024




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                                   RESPECTFULLY SUBMITTED,

                                   /s/ Matthew V. Topic

                                   Attorneys for Plaintiff
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